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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 19-cv-00887-RBJ

           ALEXANDER ARMIJO

  Plaintiff

  v.

           LEROY GARCIA, in his official and individual capacities,

  Defendants


                DEFENDANT'S OFFER OF JUDGMENT UNDER Fed. R. Civ. P. 68



           Defendant Leroy Garcia, in his individual capacity, respectfully submits the following

  Offer of Judgment to the Plaintiff pursuant to Fed. R. Civ. P. 68:

           Defendant offers:

           1.     To consent to entry of a permanent injunction order in the above-captioned case

  requiring him to "unblock"/"unban" Plaintiff from the Senator Leroy Garcia Facebook page at

  ,issue in this case. Defendant will further consent to \entry of a permanent injunction orde1·

   requiring him to l'efrain from "blocking"/"banning" any individuals from, and to refrain from

   deleting comments posted on, the Senator Leroy Garcia Facebook page at issue in this case and

   identified in Plaintiff's Complaint. This consent shall not apply to any postings, comments, or

   material containing true threats, obscenity, commercial speech, and/or content reasonably subject

   to interpretation as being defamatory of third persons or in furtherance of illegal or criminal

   activity.




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                   2.       To consent to entry of a declaration that Defendant's actions as alleged in

            Plaintiffs Complaint constituted a violation of the Plaintiff's rights under the First Amendment

            to the Constitution of the United States.

                   3.       To consent to entry of Judgment in favor of the Plaintiff and against the

            Defendant in the principal amount of$25,000, such amount to be inclusive of (a) all damages

            suffered and alleged to be recoverable by the Plaintiff; and (b) all costs incurred by the Plaintiff

            in this action, to include, without limitation, all attorney fees recoverable by the Plaintiff and his

            legal counsel under 42 U.S.C. §1988 or otherwise; together with (c) post-judgment interest upon

            all such sums at the rate of 8% per annum.

                   Please note that, if Plaintiff does not accept this Offer of Judgment, he may become

            o,bligated to pay Defendant's costs incuned after the making of this Offer, as well as forfeit his

            right to obtain an award of costs incurred after the making of this Offer- to include attorney fees

            pursuant to 42 U.S.C. §1988(b)- in the event a Judgment is not entered in this action more

            favorable to him than this Offer of Judgment.

                   To accept this Offer, Plaintiff or his counsel must serve a written Notice of Acceptance

            thereof upon Defendant's undersigned counsel within fourteen (14) days after the date this Offer

            is made.

                    This Offer is not to be construed as an admission of liability except as specifically set

            forth herein.




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                Dated April 10, 2019.




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                                               EXHIBIT 1
